Case 6:23-cr-00294-RRS-CBW Document1 Filed 12/13/23 Page 1o0f5 PagelD#: 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

UNITED STATES OF AMERICA CRIMINAL NO. 6:23-cr-00294 RRS CBW

VERSUS 18 U.S.C. §§ 2, 371, 981

28 U.S.C. § 2461
MAGISTRATE JUDGE WHITEHURST

+ + & +

BILL OF INFORMATION

THE UNITED STATES CHARGES:
AT ALL TIMES MATERIAL HEREIN:

il The defendant, LEONARD C. FRANQUES, was a resident of Lafayette
Parish, within the Western District of Louisiana. FRANQUES owned several
companies, to include DGLI1, a registered Louisiana Limited Liability Company, that
marketed a series of online courses to the Louisiana Department of Wildlife and
Fisheries (“LDWF’).

2. Beginning at least on or about May 1, 2019, and continuing until at least
on or about December 10, 2021, Dusty Guidry was an agent for the LDWF.

5, Beginning at least on or about January 16, 2017, and continuing until at
least on or about April 14, 2023, Public Official #2 (“PO-2”) was a high-ranking
employee and agent of LDWF. PO-2 had the authority to contractually bind the

State of Louisiana with vendors doing business with LDWF.
Case 6:23-cr-00294-RRS-CBW Document1 Filed 12/13/23 Page 2 of 5 PagelD#: 2

4. LDWF was an agency of the State of Louisiana that received in excess
of $10,000 annually in benefits under federal programs involving grants, contracts,
subsidies, loans, guarantees, insurance, and other forms of assistance.

COUNT 1
CONSPIRACY TO COMMIT AN OFFENSE

18 U.S.C. § 371
The Conspiracy

Bhs The introductory allegations set forth in paragraphs 1 through 4 are
realleged and incorporated by reference as though fully set forth herein.

6. Beginning at least as early as December 2020, and continuing until on
or about December 8, 2021, the defendant, LEONARD C. FRANQUES, did conspire,
confederate, and agree with others both known and unknown to the United States, to
commit the crime of paying a bribe to an agent of an organization or agency receiving
federal funds, in violation of Title 18, United States Code, Section 666(a)(2).
Purpose of the Conspiracy

q It was a purpose of the conspiracy for FRANQUES, Dusty Guidry, PO-
2, and others known to the United States, to enrich themselves by paying and offering
to pay money and things of value, from FRANQUES, in exchange for Guidry and PO-
2 providing and agreeing to provide favorable contracting action on behalf of the
LDWF for the benefit of FRANQUES in his business dealings with the LDWF.

8. It was a further part of the conspiracy to hide, conceal, and cover up the

true nature and scope of FRANQUES dealings with Guidry and PO-2, including the

bo
Case 6:23-cr-00294-RRS-CBW Document1 Filed 12/13/23 Page 3 of 5 PagelD#: 3

true source and nature of the payments FRANQUES provided and agreed to provide
to Guidry and PO-2.
Manner and Means of the Conspiracy

9. The conspiracy was carried out through the following manner and
means, among others:

10. Guidry and PO-2 used their official positions at LDWF to deliver an
LDWF contract for DGL1 to provide: (1) hunters’ and boaters’ education classes; and
(2) courses to resolve LDWF violations, which would be provided as online classes by
DGL1.

11. In exchange, FRANQUES agreed to give two-thirds of FRANQUES’
resulting profits to Guidry and PO-2specifically due to Guidry and PO-2’s actions at
the LDWF.

Overt Acts

12. In furtherance of the conspiracy and to effect the objects of the
conspiracy, FRANQUES and one or more of the conspirators committed and caused
to be committed at least the following acts:

a. On or about October 8, 2021, PO-2, acting on behalf of the LDWF,
and FRANQUES, acting on behalf of DGL1, signed and entered into a contract,
agreeing that DGL1 would provide services to LDWF related to the provision of (1)
hunters’ and boaters’ education classes; and (2) courses to resolve LDWF violations.

b. On or about November 19, 2021, FRANQUES, Guidry and PO-2
met in person at PO-2’s residence, located in the Western District of Louisiana, to

discuss concealing and disguising the payment of the bribe proceeds. During this

3
Case 6:23-cr-00294-RRS-CBW Document1 Filed 12/13/23 Page 4of 5 PageID#: 4

meeting, FRANQUES, Guidry, and PO-2 agreed that FRANQUES would refrain from
paying the kickbacks owed to PO-2 until after PO-2’s departure from the LDWF.
Further, FRANQUES, Guidry and PO-2 agreed that FRANQUES would purchase an
all-terrain vehicle for PO-2.

All in violation of Title 18, United States Code, Section 371.

FORFEITURE ALLEGATION

13. The allegations contained above and in Count 1 of this Information are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United
States Code, Section 2461(c).

14. Upon conviction of the offenses in violation of Title 18, United States
Code, Sections 371 and 666, as set forth in Count 1 this Information, the defendant,
LEONARD C. FRANQUES, shall forfeit to the United States of America, pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
Section 2461(c), any property, real or personal, which constitutes or is derived from
proceeds traceable to the offenses.

15.  Ifany of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
G. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
Case 6:23-cr-00294-RRS-CBW Document1 Filed 12/13/23 Page 5of5 PagelD#: 5

e. has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c).

All pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

Respectfully submitted:

BRANDON B. BROWN
United States Attorney

“ MYERS P. Naxin eae No. 29 29359
DANIEL J. Bar No. 29334
Assistant Teeteee tates Attorney

Western District of Louisiana
800 Lafayette Street, Suite 2200
Lafayette, LA 70501

Telephone: (337) 262-6618

COREY R. AMUNDSON
Chief, Public Integrity Section
U.S. Department of Justice

7 a
2 7 wen

5) fy
ROSALEEN T/O'GARA, AZ Bar No. 029512
TREVOR W OT, GA Bar No. 936961
Trial Attorne 2 Batic Integrity Section
U.S. Department of Justice
1301 New York Ave. NW

Washington, D.C. 20530
Telephone: (202) 514-1412

5
